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KOMA-KORA Complaint Form

‘Your KOMMA-KORA Complaint For has been submited!

if you provided ai valld email address, a copy of your complaint nas been sent to that emall address. Please keep a copy of this email for your records.
‘you may also print this page for your recomds.

General Information

“Your Mame: Willam Pope

Background Information
* ave you commained about this matter to any other office? Yes

ityes, name and address of the office and/or official to whom you complained: US. Adomey to the District of Columbla - Maltnew Graves and ofer
prosecutors D.C. Disttct Court - Judge Rudolph Contreras Topeka Pollee Department Kansas JTF

What was the outcome of your complaint? Has not been resolved
Have you fled a private laweult related to this matter? Mo
Violation Details
“Type of viniation: Kansas Open Records Act (KORA)
" Name of publle agencyentityoMcial you are requesting we Investigate: U.S. Atiomey for D.C. / Kansas JTF / Topeka Police Department
” Pubic AgQencWEnthOticdal Address: United States Anomey's Office 601 D Street, NW Washington, DC 20579
Public Apency Entity Of clal Phone Humber.
" Date of alleged violation: 02122021

“Locaton of aleged voston:

" Please describe the alleged violafon In chronological order and identify any supporting documents: | am a January & defendant On February 12, 2021,
the federal goverment used the instrumentality of Kansas law enforcement, Induding Kansas JTTF and the Topeka Police Department, to amest me at
my home, On Getober 14, 2025, | requested that the U.S. Attomey for 0.0. provide the TPO bodycam recordings trom my arrest since they Involve the
legality of he warrant service and other suppression Issues. The AUSA newer responded to that email. More recently In my case | have Med discovery
requests In Court, Induding requests for these bodycam recordings. Last week the US. Attomey produced an Fal summary calming that the agent had
contacted TPO about the bodycam necerdings from my ameet, but that they had been unable to locate them and presumed they were not retained. Per
thelr police, the Topeka Police Department has a 3-year retention schedule for podycam video Mat is not considered evidence, and a 5-year retention
echedule for evidence. They also have policies In place tat required TPO officers to record my amrest and warrant service. There Is no reason these
Tecondings Siould 2 missing, and under KORA, the goverment had an obligaton to produce them to me within 20 days of my request last Gotober
(which was witin the 2-year retention schedule). | am seeking a full Investigation into the circumstances that caused this crucial evidence In my case to
be los? and would [lke Information from the Kansas ARomey General on whewier | can press changes agalnet the U.S. Adiomey for D.C. related to thelr
fallure to preserve thls evidence.

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” What remedy would you like to eae to resolve this matier. Recelwe requested records, Other - | am seeking the following Information: 1. The names.of all
agencies that paricipatad In my arrest. 2. The identities of all agents and officers who were on scene for my arest. 3. Alist of all oMcers who were
wearing body cameras during my amest. 4_ A list of all officers who made body camera recordings during my arrest. 5. Alist of all officers who falled to
follow TPD bodycam policy during my amest 6. All chain of custody documentation ralated to recordings from my arrest. 7. Any audio or video recordings:
from my arrest that can be retrieved or salvaged. &. The TPD bodyeam polley that was In effect on the date of my amest. 9. The TED bodycam poiley that
was In effect on the date the recordings were deleted. 10..A description of how the recordings for my arrest were classiled for preservation. 11. The exact
date that the recordings for my amest were deleted. 72. Information on whether the recordings were deleted on a retention schedule or by request. 13. All
Information and dates related to any parties who requested the recordings be deleted, Including whether the CXhJ or FBI requested the recordings be
deleted. 14. All information related to any Justification given for deleting the recordings. 15. Why the recordings were not preserved In accordance with the
Rules of Evidence, TPO policy, and the Kansas Publlc Records Act 16. All DOJ, FBI, and JTTF communications pertaining to recordings trom my arrest.
17. All TPO communications pertaining to bodycam recordings trom my arrest. 18. All information regarding whether recordings were retained by other
agencies orAmon. 79. Swom statements from all arresting officers, records retention authorities, case agents, and prosecuiors pertaining to why this
evidence was mot retained and prod.

Supporting Documentation

256 - Reply to Gov Opposition to Continue Trial.paf, 276 - Motion to Supress Phone.pdf, 275 - Motion to Olsmiss Due to Missing Discovery pot, 263 -
Supplement to Motion to Continue. pat

Si & Verificati

Ihave read and understand this complaint form. | understand a copy of my complaint will be provided to the pubile agencyentty/official that Is the subject
of my complaint | also understand my complaint may be open to the pubilc under the Kansas Open Records Act

By typing my name below, I declare under penalty of pexjury tat the Information I have provided Is rue and comect. Executed on May 14, 2024.
Willlam Pope

Dabe Submitted 54 4/2024. 6:15:09.4M

